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                            THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


    MELODY VAN LEEUWEN,
                                                   MEMORANDUM DECISION AND
                          Plaintiff,               ORDER DENYING [4] EX PARTE
                                                   MOTION FOR TEMPORARY
    vs.                                            RESTRAINING ORDER AND
                                                   PRELIMINARY INJUNCTION
    ALLIED SERVICING CORPORATION, a                AGAINST DEFENDANT LMC FUND I,
    Washington for Profit Corporation; LMC         LLC
    FUND I, LLC, a Pennsylvania Limited
    Liability Company; and JOHN DOES I
    through X.
                                                   Case No: 2:21-cv-00332

                            Defendants.            Judge David Barlow




          Before the court is Plaintiff’s Ex Parte Motion for Temporary Restraining Order and

Preliminary Injunction. 1 The court considered the briefing, relevant case law, and oral argument

presented by both parties on June 8, 2021. For the reasons stated on the record, Plaintiff’s Ex

Parte Motion for Temporary Restraining Order is DENIED.

          Signed this 8th day of June, 2021.

                                               BY THE COURT



                                               ________________________________________
                                               David Barlow
                                               United States District Judge



1
    ECF No. 4.
